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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION




       ALLEN JOHNSON, ET AL.,              :     Docket No. 16-cv-1543
                                           :
                           Plaintiffs,     :
       vs.                                 :     March 10, 2021
                                           :
       CHESAPEAKE LOUISIANA LP, ET AL.,    :
                                           :
                           Defendants.     :
       _________________________________________________________________


           REPORTER'S OFFICIAL TRANSCRIPT OF THE MOTION HEARING
            VIA ZOOM BEFORE THE HONORABLE S. MAURICE HICKS, JR.
                       UNITED STATES DISTRICT JUDGE


       APPEARANCES:
       FOR THE PLAINTIFFS:               ANDREW D. MARTIN
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 1                             P R O C E E D I N G S
 2                THE COURT: Quick good morning to everybody.
 3                We're here for the oral arguments in a motion to
 4     reconsider the Court's previous ruling on partial summary
 5     judgment motions.
 6                We've got a number of people who are present with us on
 7     this Zoom video teleconference proceeding. And I'm not going to
 8     go through a roll call of all of the attorneys who may be joining
 9     us by Zoom today. There are only eight of you that -- or seven
10     of you that I can see that are actually using their video
11     portion. And we have a court reporter present. The rest of
12     everyone looks like they've either been muted -- let's see.
13     Randy Davidson is unmuted, and that's one of the problem areas
14     that I think has been corrected.
15                All right. I'm not going to go down that list because
16     we'll be here the rest of the morning just going through the list
17     of attendees that was previously submitted, and from the Court's
18     viewpoint, the only people that are speaking today for the
19     plaintiffs will be Drew Martin, and for the defendants, that will
20     be Nicole -- is it Duarte or Duarte?
21                MS. DUARTE: Duarte.
22                THE COURT: Duarte. Close, but no cigar.
23                MS. DUARTE: Thanks, Your Honor.
24                THE COURT: All right, then. Is everybody ready to
25     proceed?
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 1                MR. MARTIN: Yes, Your Honor, we're ready.
 2                MS. DUARTE: Yes, Your Honor.
 3                THE COURT: All right. I'm going to try this again.
 4                Ms. Duarte? Close enough?
 5                MS. DUARTE: Perfect.
 6                THE COURT: All right. You have the floor at this
 7     point, and if you'd go ahead and begin, and 20 minutes as an
 8     initial deal is fine, but I'm intending for this to be argued
 9     down. So I don't want interruption by the other attorneys during
10     your argument, but if it takes 30 minutes, it takes 30 minutes.
11     If it takes 40, it's 40.
12                I will let you know that I will use Judge Don Walter's
13     rule of Scheherazade. For as long as you entertain me, you may
14     speak. When you cease to entertain me, it's off with your
15     screen.
16                So let's go ahead and get started on this as the
17     movant.
18                MS. DUARTE: As long as it's not off with my head and
19     just off with my screen, I can live with that ruling, Your Honor.
20                THE COURT: I changed the rule.
21                MS. DUARTE: All right. Thank you so much.
22                My name is Nicole Duarte. I'm here today on behalf of
23     Chesapeake. And I know that the Court has heard from these
24     parties and other parties in the related Self action on the same
25     issues. So what I've tried to do is not start from the
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 1     beginning, but to read through particularly the Court's
 2     discussion in the Self transcript, the Self argument transcript,
 3     and try to focus my presentation today on the specific questions
 4     and issues that the Court raised in that transcript.
 5                So what I have is a PowerPoint. It's not fancy, it
 6     doesn't have any cool graphics, but what it tries to do is simply
 7     outline Chesapeake's position and give you directly quotations
 8     from the cases and the text of the statute that support the
 9     position we're advocating today.
10                THE COURT: And the Court will require that that
11     PowerPoint be emailed to chambers, and when it's emailed to
12     chambers, since it's actually a demonstrative aid for my purposes
13     in going back over your argument, please send a copy to
14     plaintiffs as well.
15                MS. DUARTE: Of course.
16                THE COURT: And you may just do a blast email saying
17     here's my PowerPoint. That way I have something to refer back to
18     in summary form as opposed to the brief.
19                And we do have some new legal theories that were not
20     present in the first go-round, so to speak, in the Self case. So
21     we have some new things to consider and reconsider in this
22     particular context.
23                So you have the floor again.
24                Thank you.
25                MS. DUARTE: Understood.
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 1                 And if I could share screen, please.
 2                 MS. GUILHAS: You've got the ability.
 3                 MS. DUARTE: All right. I'm trying to find it. I'm
 4     not getting the icon for it.
 5                 MS. GUILHAS: Down at the bottom.
 6                 MS. DUARTE: Share screen. There we go.
 7                 Okay. Everybody can see that?
 8                 THE COURT: Yes.
 9                 MS. DUARTE: All right. Excellent.
10                 So I'd like to start off just with an articulation of
11     what Chesapeake's position is in the action because, as you said,
12     Your Honor, this has been refined a little bit over the course of
13     the case.
14                 The conclusion that we're asking this Court to adopt is
15     that Louisiana Civil Code Article 2297 provides for the right of
16     reimbursement of post-production costs incurred by Chesapeake to
17     market plaintiffs' gas. That is the source of the reimbursement
18     that we're advocating and asking the Court to adopt.
19                 So in terms of the rationale for this that I'm going to
20     go through today, I've broken it down into three parts, and the
21     colors are there so that the slides are easy to relate back to
22     which argument we're talking about at the time or which part of
23     the rationale.
24                 So first is the principle that it's settled law in
25     Louisiana that Section 10(A)(3) creates a quasi-contractual
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 1     relationship of negotiorum gestio. This is done by operation of
 2     law when a unit operator sells a UMO's gas. And what I'm going
 3     to focus on in that argument or that section of the argument is
 4     the aspect of a quasi-contractual relationship.
 5                I know that in the Self hearing, the Court expressed
 6     concern over the extent to which the prescription cases can be
 7     imported into this case to talk about what the right of
 8     reimbursement is, are they just one-off cases or is it something
 9     bigger.
10                And what I want to show the Court during this portion
11     of the argument is that what we're talking about is a
12     relationship. It's a quasi-contractual relationship established
13     that imports the provisions of the Civil Code relating to
14     negotiorum gestio into a quasi-contractual relationship, a
15     contract with specific provisions and obligations for the
16     parties.
17                From there, I want to talk about the second part, which
18     is that Article 2297's reimbursement right is an express codal
19     term of the quasi-contractual relationship, and this goes to the
20     concern that the Court expressed in the Self hearing about gap
21     filling and equity and having to disregard express statutory law
22     in favor of equity.
23                And what I want to establish during that portion of the
24     argument is we're not talking about equity. We're not talking
25     about gap filling. What we're talking about is an express
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 1     statutory codal provision that provides for a right of
 2     reimbursement.
 3                And then the last section that I want to address is the
 4     issue of conflict. Given that we have 10(A)(3) and we have
 5     Article 2297, another expression of positive law, is there a
 6     conflict between those two provisions such that the phrase,
 7     quote, proceeds of the sales of production, trumps Civil Code
 8     Article 2297's reimbursement right.
 9                And under that are three kind of sub-rationales:
10                The first thing is the Court's duty to harmonize and
11     reconcile the acts, if possible, to avoid a conflict. That's a
12     fundamental and -- I'll show the Court -- primary rule of
13     statutory interpretation. That applies even absent a finding of
14     ambiguity. So you don't have to find that it's ambiguous to have
15     to apply that rule. That rule is something that's in the first
16     analysis, and it's very, very important in this case, because
17     it's your duty to try to find a peace between Civil Code Article
18     2297 and 10(A)(3).
19                The second portion is that "proceeds" simply means cash
20     and doesn't speak to the issue of post-production costs at all.
21     This is also something that I think the Court addressed, if not
22     directly, then indirectly, in the Self argument saying that
23     "proceeds" means proceeds. It doesn't say "net." It doesn't say
24     "gross." It just means what you get from the sale. In our view,
25     what you get from the sale simply means cash as opposed to the
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 1     kind of in-kind balancing that is ordinarily applicable to
 2     working interests.
 3                The last part of the argument relates to even if the
 4     Court is going to read the term "proceeds" to mean gross
 5     specifically, that doesn't by itself -- that doesn't expressly
 6     exclude the application of this reimbursement right. Nor does it
 7     relieve the UMO of other obligations that can be set off against
 8     that amount.
 9                And the big item here is severance taxes. And I will
10     suggest to the Court now, and I'll go into this in more detail in
11     a minute, severance taxes is the roadblock, I think, in this
12     case. The way severance taxes operate are the same way that the
13     right of reimbursement under 2297 operates. And I don't know
14     how, given the way that severance taxes operate and the
15     concession of all parties that they are allowed to be withheld
16     from the proceeds of the sale by the operator, why the necessary
17     and useful expenses can't similarly be withheld by the operator.
18                So that is the order of presentation, and I'll just
19     jump right in.
20                The first thing we're going to talk about -- or I'm
21     going to talk about -- is the settled law that there is a
22     quasi-contractual relationship of negotiorum gestio created
23     between the unit operator and the UMO when the operator sells
24     production, and this is something that happens by operation of
25     law, which is important, and we'll talk about that in just a
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 1     second.
 2                So I started out here with the Louisiana Supreme Court
 3     authority on this issue. And for some reason this doesn't always
 4     appear in all the briefing in any of the cases, and I'm not sure
 5     why that case doesn't -- and it doesn't appear in Judge Foote's
 6     decision in the J&L case. She says the Supreme Court hasn't
 7     spoken on it. Actually it has and here's where it's spoken on
 8     it.
 9                In the Wells vs. Zadeck decision in 2012, you'll see
10     the bolded sentence right here, "A quasi-contractual relationship
11     is created between the unit operator and the unleased mineral
12     interest owner with whom the operator has not entered into
13     contract." And, again, after that, the Court uses the term
14     "relationship" again.
15                And in that decision the Court is relying on two
16     different cases for its discussion of this Louisiana
17     jurisprudence on unleased mineral interest, the Taylor vs. Smith
18     case and then the King vs. Strohe case.
19                In Taylor vs. Woodpecker, the Court again -- the
20     Supreme Court again talked about the relationship authorized by
21     the statute between an unleased interest owner and a unit
22     operator. In that case the Court didn't specifically talk about
23     quasi-contractual or negotiorum gestor, but it is still talking
24     about a relationship, which is something that goes beyond just
25     prescription, that goes beyond just saying that the nature of
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 1     this cause of action for prescription purposes only is this.
 2     This is a relationship in the words of the Supreme Court.
 3                 So now we look at the Taylor vs. Smith case, which is
 4     the one that the Supreme Court relied upon in Wells vs. Zadeck.
 5     And this case has a very long and good explanation of the exact
 6     nature of the relationship that's created by 10(A)(3) and how
 7     that fits into the Civil Code generally.
 8                 So the Court starts off talking about where there is no
 9     written agreement, 10(A)(3) has supplied the terms of the
10     contract. Okay? And that's what the law is doing in this case.
11     It's creating a relationship by operation of law and it's
12     supplying the terms of the contract; not just 10(A)(3), but once
13     10(A)(3) creates a relationship of negotiorum gestio, then the
14     negotiorum gestio also create -- I'm sorry. Are you speaking,
15     Your Honor? You're on mute. Oh, I'm sorry.
16                 Okay. I'm sorry. I was confused.
17                 THE COURT: I have my law clerk with me on this. I'm
18     in my conference room. So if I start yakking, (a), either I'm
19     talking to you and I'm muted, or, (b), I'm not talking to you and
20     I'm muted. In this case I can just go off video and mute, but
21     I'm still listening because that's the only way I can communicate
22     in Zoom with my law clerk.
23                 MS. DUARTE: I apologize. I wasn't trying to
24     interrupt. I just assumed --
25                 THE COURT: We have rules of how we do this. I'm still
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 1     messing around with this platform. And that's why we have
 2     Jeanne Guilhas with us who is essentially our network engineer
 3     for all things Zoom. I'm still learning what things mean and the
 4     icons and stuff on the screen, but Jeanne will tell me that I'm
 5     muted when I'm not supposed to be.
 6                 I'm sorry. Go ahead.
 7                 MS. DUARTE: No. I apologize.
 8                 Okay. So back to where I was talking about Taylor vs.
 9     Smith and supplying the terms of the contract. That's the first
10     relevant point.
11                 In the second quote, the Court is talking about an
12     obligation of the unit operator imposed without agreement, but
13     instead by sole authority of the laws. So here we have a
14     recognition that a law can create a relationship, right? It can
15     create obligations beyond contract.
16                 And if you look at Article -- Civil Code Article 1757,
17     which was cited by the Court in Taylor v. Smith, it's talking
18     about obligations arising directly from the law, and it
19     specifically mentions management of the affairs of another as one
20     of those instances. So, again, we're talking about a
21     quasi-contractual relationship imposed by operation of law, by
22     positive law.
23                 So, again, the Court talks about quasi-contract, and it
24     specifically identifies the nature of that quasi-contractual
25     relationship as negotiorum gestio, right? "The operator, in
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 1     selling the owner's proportionate share of the oil produced, is
 2     acting as a negotiorum gestor or manager of the owner's business
 3     in selling the oil produced."
 4                 The last point is that Article 2295, now 2292, sets
 5     forth the quasi-contract which results from the transaction of
 6     another's business. Again, we're talking about creating
 7     something for all purposes, not just prescription.
 8                 King vs. Strohe is the other case cited by the
 9     Supreme Court in Wells vs. Zadeck, and in that case, again,
10     you'll see this highlighted language, "Quasi-contractual
11     relationship." I won't belabor that.
12                 We have other cases as well since then that have
13     recognized this.
14                 Taylor vs. Woodpecker. This is the
15     First Circuit now. The previous case, the Taylor case, was the
16     Third Circuit. "The unit operator acts as negotiorum gestor."
17                 Hackett. "The law has settled on the proposition that
18     the landowner's -- the unleased landowner's cause of action is
19     quasi-contractual."
20                 And then J&L vs. BHP in which Judge Foote of the
21     Western District has adopted these positions and says that the
22     Third Circuit has said that we're in quasi-contract, and, again,
23     this is based upon negotiorum gestio.
24                 So these cases are not limited simply to the
25     prescription context in which they were decided. That was the
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 1     issue except for the J&L Family case. And they're not limited to
 2     that for a couple of reasons:
 3                 One, as I've indicated, the courts are talking about
 4     relationships. They're talking about a relationship and a
 5     contract, a quasi-contract, that's created by law and by the
 6     voluntary act of being a unit operator and selling production.
 7     Those relationships have incidence that go well beyond
 8     prescription.
 9                 And, second, when doing that prescription analysis, the
10     courts aren't simply analogizing. They're not just saying, well,
11     we don't know what the prescriptive period is here. So it's sort
12     of like this kind of action, so we're going to pick that one.
13     What they're saying is we're tasked with determining the nature
14     of the cause of action, right, the nature of the cause of action
15     as the Court said in Smith. So, again, that is something that's
16     much more fundamental than simply analogizing to some law to say
17     that prescription applies.
18                 And you can see this from the J&L decision of
19     Judge Foote. In that case the Court was looking to the
20     quasi-contractual provisions of the Civil Code to figure out
21     whether attorney's fees are authorized under 10(A)(3)).
22     Attorney's fees aren't mentioned in 10(A)(3), right, but the
23     Court's recognizing in that case that the incidence of a
24     quasi-contractual relationship goes beyond necessarily what's in
25     10(A)(3), right? We're going to go look at the Civil Code
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 1     provisions generally on negotiorum gestio to find whether or not
 2     attorney's fees are authorized.
 3                 Now, one other point I wanted to raise is that it's not
 4     just the cases that talk about this kind of a relationship that
 5     can be created with these kind of more far-reaching consequences.
 6                 So if we look at 30:10 itself, and 30:10(A)(2) for this
 7     portion, there is an explicit recognition in that statute that
 8     this kind of a relationship can be created. And here this is
 9     10(A)(2)(b)(ii)(dd). And the Court is talking -- or the statute
10     is talking about the obligation of the unit owner to pay royalty
11     and overriding royalty to nonparticipating owners while the
12     drilling and production costs are being recouped, right? During
13     that recoupment period, the unit owner is still supposed to be
14     paying the royalty and overriding royalty amounts to the
15     nonparticipating owners so that they can pay their royalty
16     owners.
17                 And what the statute says is, "Except as provided in
18     this paragraph, the drilling owner's obligation to pay the
19     royalty and the overriding royalty to the nonparticipating owner
20     in no way creates an obligation, duty, or relationship between
21     the drilling owner and any person to whom the nonparticipating
22     owner is liable to, contractually or otherwise."
23                 And I think what this provision is saying is we're
24     recognizing that a court might find basically a third-party,
25     beneficiary-type relationship could be created by this duty that
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 1     we're imposing on the unit owner to pay the amounts or the
 2     royalties, and the statute is saying, no, that doesn't happen.
 3                 So I think this is relevant for two reasons: One is
 4     the fact that it shows that such a relationship is envisioned,
 5     and, two, that there's exclusionary language that can prevent it,
 6     right, that the legislature knows how to do that when it wants
 7     to.
 8                 We don't have that kind of exclusionary language on
 9     negotiorum gestio in 10(A)(3). We don't have anything like that,
10     but here above in the same statute the legislature saw fit to try
11     to exclude a relationship it knew could be created.
12                 So that's the first portion, which is basically what we
13     have is our quasi-contractual relationship of negotiorum gestio.
14                 The second portion is that now we have an express
15     positive law outside of 10(A)(3) that gives a right of
16     reimbursement for post-production costs, and that is Civil Code
17     Article 2297. "The owner whose affair has been managed is bound
18     to fulfill the obligations that the manager has undertaken as a
19     prudent administrator and to reimburse the manager for all
20     necessary and useful expenses."
21                 So, again, here we're talking about positive law.
22     We're not talking about gap filling. We're not talking about
23     equity. We're talking about express statutory law. And it's a
24     situation in which the Civil Code is supplying this provision as
25     a term of the quasi-contract that is created by the operator's
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 1     sale of minerals under 10(A)(3).
 2                 So that leaves us two different statutory provisions,
 3     two potentially competing statutory provisions. One is 10(A)(3)
 4     and one is Civil Code Article 2297.
 5                 I've reproduced the text of 10(A)(3) here, but what
 6     we're focusing on, I believe, is the bolded language, "The
 7     proceeds of the sale of production." "The operator shall pay to
 8     such party or such parties such tract's pro rata share of the
 9     proceeds of the sale of production within one hundred eighty days
10     of such sale."
11                 So now let's talk about whether there is a conflict
12     between those two provisions.
13                 Now, I think the first issue to address, because this
14     is something that the Court talked about extensively in the Self
15     transcript, which is the rules of statutory construction that
16     apply in this case. And I believe that the word that the Court
17     used, what's threshold, what's not threshold; what is only
18     dependent upon ambiguity, you know, what allows this to look at
19     things only when Your Honor has determined that an ambiguity
20     already exists; and what do we look at on the front end as our
21     threshold or what I'm going to call primary matter.
22                 So what I'd like to point the Court to is Civil Code
23     Article 13. "Laws on the same subject matter must be interpreted
24     in reference to each other."
25                 And if we look at what the Supreme Court has said about
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 1     that provision, it says that when statutes seem to conflict, this
 2     article makes it this Court's duty to harmonize and reconcile the
 3     acts if possible. This is huge because this duty to harmonize is
 4     on the front end, and it's before the rule that says specific
 5     applies over general. You don't get to specific applies over
 6     general until you find a conflict, and you don't get to a
 7     conflict until you've undertaken this duty to harmonize the acts
 8     if possible. This is a primary rule of statutory --
 9                 THE COURT: Stop if you would. Go back to your slide
10     on 30:10. I want to be sure that I understand how this
11     exception, except in this paragraph -- I'm sorry. Keep going.
12     Go to your next slide.
13                 Okay. It's back. I'm sorry.
14                 MS. DUARTE: That's okay. I'm working on learning all
15     of these buttons, too.
16                 THE COURT: Yeah. Boy, isn't that the truth.
17                 MS. DUARTE: I had my son come over last night to try
18     to make sure I didn't turn myself into a cat.
19                 THE COURT: You've got to have somebody younger.
20     That's true. Twelve-year-olds pick this right up.
21                 Look at the one in green. Is that the one that we're
22     looking at just above -- no.
23                 MS. DUARTE: So the green one sets out 2297. The next
24     one is the language.
25                 THE COURT: Let's see. It is concerning your second
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 1     point, the need to harmonize.
 2                 MS. DUARTE: Okay. The harmonizing?
 3                 THE COURT: It's the one after that because it talks
 4     about...
 5                 MS. DUARTE: Okay. The two slides that I have on
 6     harmonizing are this one that I just talked about, and then --
 7     whoops -- then the following one where I was going to talk about
 8     the Court's language showing that it was primary.
 9                 THE COURT: We've just gone to our enormous TV screen,
10     and it is the one in your list at the very top on the left margin
11     in red.
12                 Yeah. That's the one.
13                 I'm going to go off screen because I need to look at
14     the entirety of the provision here. So I'm going to hide the
15     video panel.
16                 But I guess the issue for me, you claim that it may
17     establish a legal relationship by operation of law, and this one
18     says, "Except as provided in this paragraph, the drilling owner's
19     obligation to pay the royalty and overriding royalty to the
20     nonparticipating owner..."
21                 Is a nonparticipating owner in the same class as an
22     unleased mineral owner? Are those fungible terms?
23                 MS. DUARTE: For this particular provision?
24                 THE COURT: Yes.
25                 Let's talk about generally in the oil and gas industry.
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 1                 Are those fungible terms or is there a difference
 2     between an owner who has leased property becoming an overriding
 3     royalty, okay, or is what I call an NPO and a UMO part of the
 4     same class?
 5                 MS. DUARTE: Well, NPOs, as you're using that term --
 6     and UMOs are not interchangeable because you can have a
 7     nonparticipating owner who is leased who just decided not to
 8     participate or they could be nonparticipating because they were
 9     never notified.
10                 THE COURT: Okay.
11                 MS. DUARTE: I think those are the two situations that
12     10(A)(2) envisions having a nonparticipating owner.
13                 THE COURT: All right. And then it says, "In no way
14     creates an obligation, duty, or relationship."
15                 You're using the express language of the statute saying
16     in no way creates an obligation, duty, or relationship to say
17     that it contemplates a relationship.
18                 MS. DUARTE: Yes.
19                 THE COURT: Is that your point?
20                 MS. DUARTE: That's the first part of it.
21                 THE COURT: And then your argument is that if the
22     legislature can exclude operation of law relationships in
23     10(A)(2), they could have done this in 10(A)(3)), but didn't?
24                 MS. DUARTE: That's part of it, yes. I mean, I think
25     that 10(A)(2) shows a recognition that absent some sort of
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 1     exclusion like this, just giving someone a duty under a statute
 2     could have bigger implications. It could create a relationship
 3     that has other associated duties and obligations, like in this
 4     case, a third-party beneficiary. And I think it shows that the
 5     legislature, when it recognizes that possibility exists, can
 6     specifically exclude that in the statute so everybody knows, hey,
 7     we're going to make you pay this, but we're not going to import
 8     all of that other stuff. So, yes. That's exactly what I'm
 9     arguing from this provision.
10                 THE COURT: Sorry. I did not mean to interrupt the
11     flow of which you were presenting, but I couldn't resolve in my
12     mind what you were actually using that provision for. I get it
13     now. I'm sorry. Can you go back to your regular slide?
14                 MS. DUARTE: This is your meeting and I'm happy to
15     answer any questions you have at any stage, Your Honor, of
16     course.
17                 We were, after this, going to the harmony, the duty to
18     harmonize, right? And so we talked about Civil Code Article 13.
19     We talked about Walker and the Supreme Court's interpretation of
20     that.
21                 What I wanted to make the point of in the next slide
22     was the primary nature of that rule of statutory construction
23     because I know that Your Honor talked about, well, do I not get
24     to that, or multiple other rules.
25                 THE COURT: And that's one of the concerns I have.
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 1                 The Mineral Code in our state is rather unique because
 2     it's the primary source of all things oil and gas, is it not?
 3                 MS. DUARTE: Well, are we talking about the Mineral
 4     Code proper because 30:10(A)(3) is not part of the Mineral Code
 5     proper.
 6                 THE COURT: Right.
 7                 So we've got the Mineral Code which is primary as to
 8     all things. Now we're in Title 30 and now we're in Civil Code.
 9                 So I hate to say this, but this is gap filling as to in
10     what order do you take this and which source is primary for
11     consideration and which source has become primary because of a
12     failure to speak in the Mineral Code or other statutes. That's
13     the rub as far as I'm concerned.
14                 MS. DUARTE: And I would respectfully disagree in terms
15     of the gap filling nature.
16                 So when you're in the Mineral Code proper, the Mineral
17     Code proper has Article 2, and it says this is the Mineral Code,
18     and in the event of a conflict, the Mineral Code prevails over
19     the Civil Code or other statutory law, but there has to be a
20     conflict. And it also specifically says when the Mineral Code
21     doesn't speak to it, the provisions of the Civil Code govern.
22     Okay?
23                 So there's an express rule in the Mineral Code to
24     resolve this issue and to tell you when it's primary or really
25     when it trumps, right, when it's going to override something in
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 1     the Civil Code, and that's only when it's spoken to the issue and
 2     that's only when it's spoken to the issue in a way that conflicts
 3     with the Civil Code.
 4                 So we're not in the Mineral Code proper. So 10(A)(3)
 5     isn't subject to that rule I don't believe. I haven't seen
 6     anything that says it is.
 7                 THE COURT: That's one of my concerns in this as to
 8     which provision or provisions control in this circumstance.
 9                 So we're on track. I get where you're coming from. I
10     just wanted to tell you that's one of my concerns that you do
11     need to address.
12                 MS. DUARTE: And that's -- I got that from the Self
13     transcript as well, and that's what I'm trying to do, I guess,
14     with this provision.
15                 Now, I will tell you this: When you go and you read
16     kind of any Louisiana Supreme Court case that deals with
17     statutory interpretation, it's a potpourri of stuff, right? They
18     will sometimes use ambiguity in front of a rule. They will
19     sometimes not use ambiguity in front of a rule, a particular rule
20     of statutory construction.
21                 But this citation here, this quotation that I have, is
22     the best example that I could find where the Court actually tried
23     to reason it out and tried to delineate what are the primary
24     rules and what are the secondary rules. And that term,
25     "secondary rules," is the Supreme Court's right here in this
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 1     quote.
 2                 And so if you leave this quote in and you look at it,
 3     it's saying, "When a law is clear and unambiguous and its
 4     application doesn't lead to absurd consequences, it shall be
 5     applied as written, with no further interpretation made in search
 6     of the legislature intent."
 7                 Okay. Primary rule. We're starting there.
 8                 "The starting point for interpretation of any statute
 9     is the language of the statute itself. Additionally, all laws
10     pertaining to the same subject matter must be interpreted in
11     pari materia, or in reference to each other." Civil Code
12     Article 13 which I just showed you.
13                 Now we're departing from primary rules of statutory
14     interpretation. We're going to secondary. "When, on the other
15     hand, a statute is not clear and unambiguous, or its application
16     leads to absurd consequences, we rely on secondary rules of
17     statutory interpretation to discern the meaning of the statute at
18     issue. In such cases, the statute must be interpreted as having
19     the meaning that best conforms to the purpose of the law." And I
20     forget if that's Civil Code -- let's see. It might be 11. Ten.
21     That's ten. And then, "Moreover, when the words of a law are
22     ambiguous, their meaning must be sought by examining the context
23     in which they occur and the text of the law as a whole," and
24     that's Civil Code Article 12.
25                 So the way that the Court divides it up in this case is
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 1     to put that in pari materia. It must harmonize the rule as a
 2     primary rule of interpretation. It's something you have to deal
 3     with whether or not you find the language in the statute is
 4     ambiguous. It's something you have to deal with along with
 5     applying the law as written along with not leading to absurd
 6     consequences.
 7                 And that's -- I hope that answers the Court's question
 8     for purposes of how we deal with a non Mineral Code statute like
 9     10(A)(3) and Civil Code Article 2297 when someone is arguing that
10     there's a conflict between those.
11                 THE COURT: It certainly helps in terms of the
12     analytical framework of the argument.
13                 MS. DUARTE: Okay. Great.
14                 So our position is that we're looking at the words,
15     right, we're looking at the absurd consequences, but at the same
16     time we're looking at 2297, another enactment of positive law,
17     and we're harmonizing if possible. Only if we cannot harmonize
18     those two do we get to the rule that if there's a conflict, the
19     more specific prevails over the general, and we don't think we
20     get there. We believe that it is entirely possible to harmonize
21     these two statutes, just as we do in the context of severance
22     taxes, and find a way that they live together.
23                 Okay. So now moving to apply that whole kind of
24     statutory construction interpretation analysis. Here's what we
25     see in 10(A)(3). Really here's what we don't see.
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 1                 10(A)(3) doesn't expressly exclude a right of
 2     reimbursement of necessary and useful expenses under 2297. It
 3     doesn't say anything like that. It doesn't state expressly that
 4     the UMO is entitled to the payments of the proceeds of the sale,
 5     you know, without deduction for any post-production costs. No
 6     language like that. It doesn't expressly exclude the creation of
 7     a negotiorum gestio relationship like that provision of 10(A)(2)
 8     did for third-party beneficiaries.
 9                 And really 10(A)(3) doesn't even say "gross." A lot of
10     the analysis to date has kind of assumed that that's what it
11     means or that's what it potentially means. It doesn't say that.
12     It just says, "Proceeds of the sale of production." So that's
13     what we're working with now, and what we're trying to determine
14     is, given all of those things not being there, does 10(A)(3)
15     really absolutely necessarily conflict with 2297's right of
16     reimbursement.
17                 THE COURT: Oh, let me ask you one other thing.
18                 When you -- your slides are numbered over in the
19     margin, but they're not numbered themselves. If you could
20     transfer the numbers that are shown in my far left margin here to
21     the actual slide itself, it would really help us seeing something
22     as large as we can see it on the screen as opposed to having to
23     really squint with a magnifying glass up there. That's just a
24     little technical issue.
25                 MS. DUARTE: And I apologize. I actually have the
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 1     notes enabled, so it covered up. There's a teeny-tiny little
 2     page number down there. I know it's really teeny tiny in the
 3     right-hand corner. Let me put it on -- you know what? Let's do
 4     this.
 5                 THE COURT: That's all right. It just helps in terms
 6     of us being able to know which slide to go back to.
 7                 MS. DUARTE: Understood.
 8                 And if that needs to be bigger, I can absolutely do
 9     that.
10                 THE COURT: Okay. It will just help us after the
11     arguments have been concluded today.
12                 MS. DUARTE: Okay. Of course.
13                 So we're talking about what the statute doesn't say.
14     It doesn't have any express language in 10(A)(3) that would say
15     2297 doesn't apply, negotiorum gestio doesn't apply, none of
16     that.
17                 What we also know is that silence isn't enough, right?
18     It's not enough -- if the statute doesn't even actually address
19     it, that's not enough to create a conflict. That's not enough to
20     displace other potentially applicable provisions of the Civil
21     Code.
22                 And I've cited the J&L case again here, which is the
23     case Judge Foote decided regarding attorney's fees. Even though
24     10(A)(3) doesn't expressly mention attorney's fees, the Court
25     looks to those quasi-contractual Civil Code articles to see if
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 1     there was a right for attorney's fees provided for there. This
 2     is because the terms of this quasi-contractual relationship can
 3     come from outside 10(A)(3) once that statute has created this
 4     negotiorum gestio relationship by operation of law.
 5                 Now, it is our position that 10(A)(3) is silent on the
 6     issue of post-production costs for UMOs, and it's silent because
 7     the phrase "proceeds of the sale of production" really just means
 8     in cash, right? It really just means the money you get from the
 9     sale as opposed to the kind of in-kind balancing that is
10     preferred for other working interest owners.
11                 I've cited this Hunt Oil v. Bachelor case. This is the
12     one where the Supreme Court's talking about the preference for
13     in-kind partition for general working interest owners, and the
14     Court distinguishes here UMOs in this footnote. And it says, "We
15     note that the legislature has statutorily resolved the gas
16     imbalance issue where an unleased owner is involved." And it
17     quotes 10(A)(3) and the Court italicizes "proceeds," right,
18     because it's using "proceeds" there just to distinguish proceeds
19     as cash from the in-kind partition. And you'll see this is in
20     more detail in the next slide.
21                 So other courts have simply used that term "proceeds"
22     to contrast with in-kind balancing, and these courts aren't
23     referencing gross versus net. They're not referencing the
24     ability of the unit operator to charge for post-production costs.
25     All they're doing is saying, hey, proceeds is different from
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 1     production in kind.
 2                 You can see this very clearly in the Amoco v. Thompson
 3     case. The Court says, "It is significant that this statute
 4     defines the owner as the person who has the right to the
 5     production and not just the proceeds from the sale of
 6     production." It's the exact language here, right? It's the
 7     exact language of 10(A)(3)), and it's just saying it's different
 8     from production. "The pertinent statutes, when read in pari
 9     materia, refer to the owner's right to a share of the production,
10     not the proceeds of the sale of production."
11                 THE COURT: "In kind" is, gee, I'd like to take
12     wellhead gas and make use out of it in the volume that I would be
13     entitled to?
14                 MS. DUARTE: Yes, Your Honor. It's taking it in kind.
15     It's saying, I'm going to market my own gas. You don't sale it
16     for me. I'm going to take it as gas, not as cash, after you've
17     gone and sold it for me.
18                 THE COURT: And is an unleased mineral owner entitled
19     to take in kind or are they restricted to proceeds?
20                 MS. DUARTE: They are entitled to take in kind. And
21     that appears from -- let's see if I can find it. Going back to
22     the text of 10(A)(3)). "For which the party or parties entitled
23     to market production therefrom have not made arrangements to
24     separately dispose of the share of such production attributable
25     to such tract."
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 1                 So that shows right there that only when they haven't
 2     taken it in kind, when the UMO hasn't taken it in kind, does the
 3     unit operator have the power to sell it and remit the proceeds
 4     instead of the product, the production.
 5                 THE COURT: Thank you.
 6                 MS. DUARTE: Okay. So I went through Amoco v. Thompson
 7     using it in that same production versus proceeds of sale of
 8     production. You see something similar in the King vs. Strohe
 9     case.
10                 In all of these, the emphasis is the courts, right? In
11     this case the Court is saying -- let's see. "The trade-off for
12     this statutory authorization is that it creates an obligation in
13     which the unit operator is required to pay the parties entitled
14     to market production their pro rata share of the proceeds of the
15     sale within 180 days. The statute affords greater protection to
16     unleased owners than is enjoyed by mineral lessees. When all
17     mineral interests in the unit are leased, the lessees are merely
18     entitled to a pro rata share of production from the unit. This
19     share can be delivered in cash or in kind, but lessees are only
20     entitled to share in the cash proceeds of the sale of production
21     in certain situations." So, again, the Court is using the term
22     "proceeds of the sale of production" or "proceeds just in cash"
23     just to show that it's not production.
24                 And I will say this: This is similar to something that
25     Your Honor said as well in the Self transcript. And I'm looking
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 1     at page 40 of the transcript. And you said, "But that's the real
 2     gut case that I have, is how is 'proceeds' ambiguous? 'Proceeds'
 3     means 'proceeds,' neither net nor gross. It just means 'that
 4     which you received at the time it was sold.' And it's easy to
 5     find that." And that's lines 13 through 16 on page 40.
 6                 And again on page 42 on line 7, you're talking about
 7     proceeds, "that which I got from a sale." That's exactly what
 8     we're saying here. "Proceeds" is that which you got from a sale,
 9     money, cash. It's not speaking to whether it's net or gross or
10     the amount of that that you're entitled to, but simply the fact
11     that it is cash.
12                 And what I also wanted to point out is you see that
13     it's not just in the cases. If we go up to 10(A)(2) -- 10(A)(3)
14     isn't the only time in 30:10 that the term "proceeds" is used.
15     The term "proceeds" also appears in 10(A)(2)(b)(iii), or however
16     you say that. "A participating owner shall deliver to the owner
17     whom has not been notified the proceeds attributable to his
18     royalty and overriding royalty burdens as described in this
19     section."
20                 Again, this is what we're talking about when the
21     drilling and production costs are being recouped before payout as
22     allowed under the statute. The unit owner still has to remit the
23     amounts to pay the royalty owners and overriding royalty owners.
24                 And the Court -- or the statute uses the term
25     "proceeds" here, too, but in this case "proceeds" doesn't speak
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 1     to gross or net, right? It says, "Proceeds attributable to his
 2     royalty and overriding royalty burdens." To know whether it's
 3     gross or net, you would have to actually look at the royalties or
 4     the overriding royalties to see if they were cost-free or not.
 5     "Proceeds" just means cash. It just means out of what you've
 6     sold, you've got to remit whatever amount is attributable to the
 7     royalty and overriding royalty burdens now. And that's
 8     consistent with what we're talking about, what we're articulating
 9     here. "10(A)(3) proceeds" also just means cash. This is
10     consistent with what the Court seemed to be playing with in that
11     Self transcript quote I just gave you.
12                 Okay. So moving to the next step now.
13                 Let's say you don't agree. Let's say the Court doesn't
14     believe that "proceeds" just means cash and the Court gives it a
15     meaning of gross. Even in that context, it is our position that
16     the 2297 right of reimbursement applies. This is because
17     10(A)(3) doesn't relieve the UMO owner of other obligations that
18     can be applied against the amount received, right? Even if you
19     get gross, there still may be other things that set it off
20     against that, and these other things may come from places other
21     than 10(A)(3) itself.
22                 How do we know this?
23                 Severance taxes. And if I could like put fireworks
24     shooting out of this thing, if I knew how to do that, I would put
25     them on this slide, and I didn't ask my son to do that, but
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 1     severance taxes are the roadblock, right?
 2                 If we look at 47:635(2)(C), it says, "The unit operator
 3     shall collect or withhold out of the value of the product severed
 4     the proportionate parts of the total tax due by the responsible
 5     owners." And this applies to the UMO along with any other owner
 6     under 47:632.
 7                 Now, plaintiffs have conceded -- I'm sorry?
 8                 THE COURT: That's statutorily provided for.
 9                 MS. DUARTE: Just like 2297.
10                 THE COURT: They're different in a different category.
11     They may be a post-production cost. Severance taxes are actually
12     a production cost.
13                 MS. DUARTE: Well, I will quote, Your Honor, from
14     J. Fleet, right?
15                 And in this case, "Post-production costs are those
16     costs and expenses incurred after the production has been
17     discovered and delivered to the surface of the earth. Such
18     subsequent to production costs generally include those related to
19     taxes, transportation, processing, dehydration, treating,
20     compression, gathering," and Your Honor was basing that on Babin.
21                 THE COURT: Until it's severed, there is no production.
22     You've got to pull it out of the ground --
23                 MS. DUARTE: Right.
24                 THE COURT: -- in order for taxes to apply because you
25     don't tax reservoirs.
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 1                 MS. DUARTE: Exactly, which is why it's a
 2     post-production cost.
 3                 THE COURT: All right. That's clear.
 4                 Thank you.
 5                 MS. DUARTE: Okay. So that being the case, in this
 6     case the plaintiffs have conceded that they owed these severance
 7     taxes and that the unit operator is authorized to withhold them
 8     from its payment of proceeds to the UMO despite the express
 9     language of 10(A)(3).
10                 All right. So we've gone to the next slide.
11                 And my point here is simply that there's no logical
12     explanation for why severance taxes could be deducted from gross
13     proceeds, but the post-production costs that constitute necessary
14     and useful expenses under Civil Code Article 2297 can't similarly
15     be set off against it.
16                 THE COURT: The severance taxes are provided for by
17     specific statute. Other components of post-production costs
18     don't enjoy statutorily-required deductions after production of
19     natural gas.
20                 MS. DUARTE: Article 2297 is just as much a positive
21     enactment of law as the severance tax provision.
22                 THE COURT: I disagree with you. I can read "shall
23     withhold" or "shall or withhold" very clearly, but I don't see an
24     equivalent for transportation costs in unleased mineral owners.
25     I mean, that's a specific statutory required deduction after
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 1     production for everybody, whether you're a unitized, you know,
 2     pulled in by a commissions unit or whether you're a mineral
 3     lessor. Severance taxes are paid because the state is going to
 4     take its share out of what you remove underground.
 5                 Now, show me where there is a statutory authorization
 6     of this specificity for post-production costs involving
 7     transportation costs for an unleased mineral owner.
 8                 MS. DUARTE: Article 2297 uses "bound" language, which
 9     is the same thing as "shall." It says, "The owner whose affair
10     has been managed is bound to reimburse the manager for all
11     necessary and useful expenses." So if we're going to expect at
12     this stage that post-production costs are such necessary and
13     useful expenses, then 2297 is just as emphatic.
14                 Now, I think the Court is going to -- or it sounds to
15     me like the Court is going to specific versus general, right, and
16     that's a rule of construction when you have a conflict.
17                 THE COURT: Right.
18                 MS. DUARTE: But only when you have a conflict.
19                 And I would suggest that the severance tax statute is
20     not more specific than 10(A)(3). 10(A)(3) governs UMOs, and it
21     governs UMOs only in the situation in which their gas is sold by
22     a unit operator. The severance tax statute applies not just to
23     the minerals. It applies to anything that's been severed from
24     the ground or water, okay, trees, take your pick, lots of other
25     stuff, and it's not applying just to UMO owners, right? It's
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 1     applying to anybody.
 2                 So that statute, I believe, is in exactly the same
 3     position as 2297. It has mandatory language that is owed. It
 4     applies to a broader group of people in a broader group of
 5     circumstances. So even if you got to the general versus
 6     specific, the severance tax statute is not more specific than
 7     10(A)(3). So I think from an analytical standpoint, there is no
 8     difference between the severance tax provision and the way that
 9     it applies and Article 2297 and the way that it applies.
10                 THE COURT: Then you concede that 10(A)(3) is
11     unambiguous?
12                 MS. DUARTE: That is our position.
13                 I think you get to the same place if you find that it
14     is ambiguous. Our position is that it's unambiguous. It just
15     means cash with respect to proceeds of the sale of production.
16     It doesn't speak to the issue of gross versus net.
17                 But I'm playing devil's advocate here, and I'm saying
18     even if we go with the unambiguous means gross, then we still get
19     to the same place because we've got this duty to harmonize.
20     We've got another equally valid, equally situated, in terms of
21     stature, provision that we've got to harmonize with 10(A)(3)),
22     that this is how you do it for severance taxes. It's the same
23     way for 2297.
24                 And I guess I would add to that that this negotiorum
25     gestio right has existed since the code of 1870. So it's not
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 1     something new, right? It's been around for a long time before
 2     10(A)(3) came along, before 30:10 came along, and the
 3     legislature's presumed to know about it.
 4                 And I would also point out that this is an independent
 5     obligation like the severance tax obligation owed by the UMO, and
 6     it can be set off against the right to gross proceeds under the
 7     Doctrine of Compensation, which is Civil Code Article 1983, and
 8     that takes place by operation of law when two persons owe each
 9     other sums of money.
10                 So, again, just like severance taxes, there's nothing
11     inconsistent here about giving the UMO the right to gross
12     proceeds, if that's the way you construe the statute, and still
13     imposing upon it a separate obligation to reimburse the operator
14     for expenses.
15                 Now, this is kind of the grand finale part, and here
16     what I want to point out to the Court and what I want to try to
17     convey is that our interpretation is the only one that harmonizes
18     the two statutes, the only one that avoids a conflict, right?
19     And it's also consistent with how both parties agree that the
20     severance taxes operate.
21                 In addition to that, being consistent with those rules
22     of statutory interpretation, that primary rule that you must
23     harmonize, if you can, Chesapeake's interpretation is consistent
24     with the fact that like all working interest owners, UMOs are
25     required to pay their share of the cost of development and
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 1     operation of a well, right? And it's also consistent with the
 2     fact that other similarly-situated parties are required to pay
 3     their share of expenses to share in the profit. And in this case
 4     I'm talking about mandataries, co-owners, good faith possessors.
 5     This is that kind of undercurrent of unjust enrichment that
 6     permeates the Civil Code, right?
 7                 In almost any case where someone is managing someone
 8     else's interest, other than a bad faith possessor, you're going
 9     to get your costs of management, your necessary and useful
10     expenses. And I think that mandate is even the most interesting
11     one of these and here's why.
12                 Louisiana recognizes passive mandate in addition to
13     express mandate, and a passive mandate is basically just when the
14     person whose stuff is being managed actually knows about it, but
15     doesn't do anything, that can give rise to a tacit mandate, and
16     when you have that tacit mandate, the mandate articles provide
17     that the mandatary gets his expenses of management.
18                 So in this case we have negotiorum gestor, which
19     doesn't matter whether you know or not that your property is
20     being managed. It's a fine line between that and the tacit
21     mandate relationship. Yet the original opinion holds that
22     unleased mineral owners are different from the tacit mandate
23     situation, right, functionally, that they don't get it -- the
24     operator doesn't get it in the negotiorum gestio context, but it
25     does get it as to where we would end up if it's an actual
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 1     mandate.
 2                 So the point is that there is an absurdity, we believe,
 3     in construing the statute 10(A)(3) in a way that distinguishes
 4     the UMO so strongly from this giant history of reimbursement for
 5     expenses that you see everywhere else in the code.
 6                 Now, the plaintiffs' interpretation, in contrast,
 7     creates this conflict where we don't believe any needs to exist.
 8     This violates this harmonizing rule of statutory interpretation.
 9     It also treats post-production costs inconsistently with the way
10     severance taxes are handled.
11                 And plaintiffs' interpretation makes these UMOs the
12     only people in Louisiana, besides bad faith -- besides people in
13     the bad faith possession context, to get this kind of a free ride
14     with respect to the expenses of managing the thing from which the
15     profit is derived.
16                 This is another issue that the Court talked about in
17     its ruling in the Self transcript, and it's the last one that I
18     want to address.
19                 There is no reason to treat UMOs differently in the
20     specific context of post-production costs. That's our argument.
21                 Courts have identified two instances in which the UMOs
22     do get right of protection. They're not subject to a risk fee.
23     They're entitled to this in-cash balancing instead of this in
24     kind.
25                 If we look at what the Fifth Circuit has talked about
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 1     in this TDX Energy case, we see that it's not enough to just say
 2     that because unleased mineral owners get protection in some
 3     situations, they should be entitled to that protection in all
 4     situations. You need to speciate it a little more. It's
 5     appropriate to look at why do they get protection in these
 6     contexts and does that reasoning apply in the particular
 7     situation you're looking at.
 8                 So in TDX, it was actually a situation where the Court
 9     was considering whether the information statute, 30:103.1 and 2,
10     applies to all unleased owners, only ones who are totally
11     unleased, or those who are not leased to the operator, right?
12                 And in doing that, the Court talked about, "The
13     district court thought that the legislature may well have
14     intended to provide greater protections for landowners who
15     typically are not as sophisticated as, or have the available
16     resources of, individuals or entities that procure mineral
17     leases. Title 30 does provide some extra protection to
18     completely unleased owners. They are not subject to a risk
19     charge. That makes sense, as an unsophisticated owner may lack
20     resources to contribute to drilling costs up front, but there is
21     no apparent reason to treat lessees differently when it comes to
22     reports." Right?
23                 The Court is looking to the specific issue, the
24     reporting, and deciding do UMO owners have special protections
25     here or not.
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 1                 Now, in this case they're doing that to say that
 2     there's no special protection, so we're going to give the lessees
 3     the benefit of this provision, but it's the same analysis that we
 4     believe the Court needs to conduct here, right?
 5                 If we're going to talk about it's absurd for the
 6     legislature to offer this additional protection to UMOs, this
 7     basically free ride with respect to post-production costs, we
 8     need to look at that specifically in order to -- we need to look
 9     at the nature of the right, the nature of the free ride. It
10     doesn't make any sense for UMOs to be treated differently in this
11     context, right?
12                 The necessary and useful expenses reimbursement right
13     isn't dependent upon the sophistication of the person whose
14     affairs are being managed, right? It applies to everybody.
15     Anyone that could be managed, this right applies.
16                 So the fact that these UMO owners are protected from
17     the risk fee, are protected for the in cash because they don't
18     have the ability to market their own gas necessarily, doesn't
19     translate to the context of post-production costs.
20                 THE COURT: Let me ask you one question: Is there any
21     instance in -- let's use fracking, for instance, with the
22     spidering and draining of gas from a unit area authorized by the
23     Commissioner of Conservation. Under those circumstances, is it
24     possible for an unleased mineral owner to say I don't want to be
25     in the unit and you can't get natural gas from that horizon under
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 1     my property?
 2                 MS. DUARTE: Well, I would assume the intention -- and
 3     this is how I think it would work -- that the unleased mineral
 4     owner, like anybody else, could contest the establishment of the
 5     unit during that procedure, and if there's not special exception
 6     made and the unit is established by the Commissioner, they're in
 7     like everybody else.
 8                 THE COURT: Right.
 9                 And they're forced into it. And so the free ride,
10     they're automatically -- and no lease bonus was paid. They don't
11     negotiate a royalty, whether it's one-eighth, 25 percent,
12     whatever. The Haynesville Shale changed a lot of that.
13                 So they're in because of the Commissioner's order
14     unitizing production from defined properties in the unit. They
15     don't have any say in anything except with respect to the
16     assessment of costs or the -- I'm going to use this word
17     advisedly -- wrongful, you know, quote, end quote, assessment of
18     costs.
19                 So their obligations are substantially less than a
20     mineral lessor's obligations and their rights are quite different
21     because they're not defined by the lease agreement and/or
22     operation of law. They're just defined in their relationship
23     with the operator of the well essentially by default. There is
24     no contract. That's why it has to be quasi-contract because some
25     sort of relationship exists because the operator owes money, but
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 1     it is a default relationship over which they have no control.
 2                 MS. DUARTE: Well, I'm not sure I understand the
 3     default part of it because it's not default. It's by operation
 4     of law, which is one of the ways, under Civil Code Article 1757
 5     or seventeen something seven that I cited earlier, is a source,
 6     right, of obligations. So it is an express contract provided by
 7     law.
 8                 You are correct to the extent that they do not
 9     negotiate it, right, that they -- but that doesn't mean that
10     they're in a worse position necessarily in terms of
11     post-production costs. There's an upside and a downside. It's a
12     risk that you don't know going in. They are -- an unleased
13     mineral owner doesn't have to participate in the drilling costs
14     or anything like that on the front end, right? They don't have
15     to put up any money. So they can sit there and wait, and if
16     production doesn't -- if the well doesn't pay out, they never pay
17     in. So there's no risk from that. Even if the well does pay
18     out, they don't have to pay a risk charge from sitting it out.
19     So they get to wait for that whole process. They have rights to
20     information along the way for the pre-production costs that have
21     consequences if that isn't complied with, and those kinds of
22     claims are made in this case as well. They're totally distinct
23     from this, but they're made. So they have those rights.
24                 They have a preference over the other working interest
25     owners in that they get in-cash balancing if they want. Now,
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 1     they can still take it in kind, right? So they can do their own
 2     thing if they're sophisticated and they want to do it, but if
 3     they don't, they get cash. Nobody else gets that unless some
 4     special situation applies. So it's not all against them, right?
 5     They are brought in by force just like others are brought in by
 6     force even if they're leased. You know, you can get stuck with
 7     Operator X that's not your lessee. There are a lot of forced
 8     aspects of it that are not unique to the UMO.
 9                 And the whole force regime is, of course, designed to
10     prevent waste, right? It's not to just try to stick it to people
11     like the UMOs. It's to try to have a meaningful way to develop
12     the resources of the state and ensure that everybody gets their
13     just and equitable share.
14                 THE COURT: So I guess the question I'm asking you is:
15     Are unleased mineral owners, vis-a-vis the operator of the well,
16     in an inferior position to those who have leased their land to
17     the original mineral lessor?
18                 MS. DUARTE: No.
19                 In some manners they are in a preferential position
20     like the in cash versus in kind, and economically you can't tell
21     until the end of that process who's in a better position, who
22     made a better bet by leasing or not leasing. It depends upon the
23     provisions of the lease, and it depends upon the payout of the
24     well.
25                 It may be that somebody in the end who decides not to
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 1     lease makes more money with that working interest that they get
 2     paid on once the well pays out as opposed to having leased for
 3     certain terms. It's absolutely not a situation in which the UMO
 4     always comes out less than the leased party.
 5                 THE COURT: All right. Thank you.
 6                 MS. DUARTE: Unless the Court has any other questions,
 7     that's the end of my presentation.
 8                 THE COURT: I don't have any questions, but I do want
 9     to take a ten-minute break before we hear from Drew Martin.
10                 And thank you for a very well put together presentation
11     that really illustrates very clearly the issues here and your
12     argument that's contained in your brief.
13                 MS. DUARTE: Thank you, Your Honor.
14                 THE COURT: We'll be in recess until about 11:20, and
15     at that time we'll hear the response or rebuttal argument of
16     Mr. Martin on this on behalf of the plaintiffs.
17                 Thank you.
18                                  (RECESS)
19                 THE COURT: All right. We're back on the record.
20                 Is everybody that needs to be present on Zoom there?
21                 MR. MARTIN: Yes, Your Honor.
22                 THE COURT: All right. Let's see.
23                 Drew Martin.
24                 MR. MARTIN: Yes, Your Honor.
25                 THE COURT: I'm going to put you heads-up on my screen
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 1     so that I can clearly see you and you'll be ready to go.
 2                 MR. MARTIN: Yes, sir.
 3                 I'm going to share the screen here real quick, get my
 4     PowerPoint up and running.
 5                 THE COURT: I need you to send it to my chambers
 6     afterwards.
 7                 MR. MARTIN: Yes, Your Honor.
 8                 Can everyone hear me okay?
 9                 THE COURT: The Court can.
10                 MR. MARTIN: Thank you, Your Honor.
11                 Good morning.
12                 I'm sure the Court's tired of hearing us reiterate our
13     position over and over again in these related matters, but I'm
14     going to jump in and do it one more time for the Court, weigh out
15     what our argument actually is. It's pretty simple. It's that
16     the enactment of 30:10 in 1984 and went into effect in 1985
17     created an obligation that did not previously exist. For the
18     first time an operator was obligated to pay one class of owners
19     within a unit their prorated share of the proceeds of the sale of
20     production.
21                 The next step of this argument is that this Court's
22     institutional function is to construe the nature of that
23     obligation, figure out what its content is rather than trying to
24     determine what the content should be.
25                 Opposing counsel mentioned that she does not think
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 1     there's any logical explanation for how the legislature elected
 2     to deal with this. That's a policy argument that should be
 3     addressed with the legislature.
 4                 The next step is the ordinary public meaning of the
 5     words of Section (A)(3) are what we give effect to in construing
 6     the content of the obligation.
 7                 And then, finally, proceeds of sale has an unambiguous
 8     ordinary public meaning. It means the entire amounts.
 9                 You'll see the many cases we've cited to that effect,
10     that the unmodified form of those phrases refers to everything.
11     The Phillips Petroleum, the Garland v. Roy case. This is both in
12     the oil and gas context, outside of the oil and gas context,
13     within the Fifth Circuit and across the country.
14                 "Proceeds" means proceeds. It really is that simple as
15     you put it in the Self hearing.
16                 So that's our position, and I really do think that's
17     the end of the story. That's, I think, what this Court
18     determined in March of 2019 when the Court ruled that it need not
19     reach any of Chesapeake's many arguments because the legislature
20     provided a solution to this exact question exactly where it looks
21     like it did. The law is what it appears to be. And this is not
22     an elaborate, postmodern prank played by the legislature to hide
23     the ball, intentional obscurity. That's not what's going on.
24                 So I don't think we need to go further than the statute
25     that is the only statute in Louisiana that directly addresses
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 1     what an unleased owner is to be paid, but because I'm opposing
 2     Chesapeake's motion, I do feel obligated to at least give an
 3     overview of their arguments.
 4                 So what is Chesapeake's position?
 5                 Now, opposing counsel primarily detailed gestio law,
 6     which is what I've got listed first, and there is no question
 7     that that appears to now play an important role in their suite of
 8     arguments at this point, but when you look at what's still on the
 9     table in this reconsideration, that's just the tip of the
10     iceberg.
11                 They've also argued unjust enrichment, mandate.
12     Chesapeake has argued that the co-ownership theory gives them the
13     result they want.
14                 They've made a number of equity and policy arguments,
15     some of which opposing counsel touched on.
16                 They've argued legislative intent, and this is an
17     interesting one because Chesapeake took the bold step of trying
18     to enlarge the summary judgment record after the fact on
19     reconsideration in adding in evidence it claimed was evidence of
20     legislative intent, and that was a big part of the motion for
21     reconsideration addressed in the reply. It seemed to be kind of
22     central to answering the question to Chesapeake and yet opposing
23     counsel didn't even mention it in her oral argument. It shrunk
24     in importance all of a sudden.
25                 Chesapeake has argued that Section (A)(3) is only about
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 1     timing about when an unleased owner is to be paid. Chesapeake
 2     has argued that industry custom gives them the result they'd
 3     like.
 4                 Chesapeake has argued that post-production expenses are
 5     operating costs and that post-production expenses are not
 6     operating costs.
 7                 Chesapeake has argued that the plain language of
 8     Section (A)(3) produces an absurd result and that it does not.
 9                 Chesapeake has argued that the statute is ambiguous,
10     and Chesapeake has argued that the statute is unambiguous, back
11     to back pages in fact.
12                 And then opposing counsel -- and I'm glad she did this
13     -- brought up a third way, what I'd call the agnostic position,
14     which is that it doesn't matter if the statute is unambiguous.
15     The rules of gestor -- every rule of gestor applies if not
16     expressly excluded within 30:10. And I'm glad she brought that
17     up because it does kind of summarize Chesapeake's entire flexible
18     approach to statutory interpretation. It doesn't matter what the
19     statute says.
20                 I would contrast this with BPX's original argument in
21     the Self matter, which there were certainly many problems with an
22     ambiguity argument, but BPX at least seemed to concede that if
23     the statute had said "gross proceeds," that would have been
24     enough to knock out those production expenses. Chesapeake's
25     position is, no, it doesn't matter what Section (A)(3) says.
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 1     There's no way to knock out post-production expenses except
 2     presumably a statement that Article 2297 of the Civil Code, which
 3     is not referenced anywhere else in the unitization statute, still
 4     does not apply in this context. That appears to be the only
 5     thing that would satisfy Chesapeake at this point.
 6                 And I would note that BPX appears to have updated its
 7     position after the Self hearing to something akin to this
 8     argument perhaps when they realized there were some problems with
 9     the ambiguity argument, but I'm just using it to contrast what
10     Chesapeake is saying with what at least BPX used to say.
11                 Now, this is a lot of arguments, and it's kind of --
12     Chesapeake's arguments here are kind of like Walt Whitman. They
13     contain multitudes, right, and you could spend a lot of time
14     trying to parse out how these play into each other.
15                 How does gestio law interact with ambiguity interact
16     with absurdity? Which of these are compatible or incompatible?
17     Which of these are independent justifications or dependent ones?
18                 We could spend a lot of time doing that.
19                 We played whack-a-mole in briefing a lot and I think
20     we've done a fair job at knocking out each argument on its own,
21     but this Court was faced with many of these arguments at the
22     original summary judgment stage and I think made the correct
23     determination that you don't need to wade into that swamp of
24     arguments and try to figure out how they fit in with each other
25     unless you're willing to step away from the only statute in
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 1     Louisiana that addresses payment to an unleased owner.
 2                 And when you look at a set of arguments this wide, it's
 3     hard not to come away with feeling that Chesapeake's treating
 4     this with a bit of cynicism. Chesapeake is arguing the statute
 5     is ambiguous and unambiguous and it doesn't matter, but what
 6     they're really doing is they're winking and nodding and saying,
 7     Your Honor, please give us the result we want by any means you
 8     find acceptable. And that's fine. Chesapeake's lawyers' job is
 9     to come up with arguments that deliver the result their client
10     wants, and they have elected here, as a strategic matter, to take
11     the shotgun blast approach, to take the everything thrown at the
12     wall and see what sticks approach, and that's their tactical
13     prerogative. I'm not criticizing that, but what that should tell
14     you is that this is just about the result.
15                 There's no theoretical consistency here because
16     theoretical consistency is not the point. The point is to
17     backwards engineer a rationalization for a practice that began
18     over a decade ago before these arguments were dreamed up. This
19     was not the prospective justification. As this Court recognized
20     on summary judgment, you don't need to go there. You do not need
21     to step away from the statute which appears to address this exact
22     question.
23                 And I'd turn now to what I think is kind of an elephant
24     in the room when it comes to gestio theory, which is the
25     centerpiece for opposing counsel's argument today.
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 1                 As I was going through all the briefing in this matter
 2     and the related matters in preparation for this hearing, a
 3     statement jumped out at me from the amicus brief filed by LABI,
 4     and you see the same statement in, I think, the 12(b)(6) motion
 5     in the related class action. Both of these documents were
 6     authored by current counsel for Chesapeake, Ms. Duarte.
 7                 And in it she says that for the past 25 years, it has
 8     been settled in Louisiana that this is negotiorum gestio. It's
 9     quasi-contractual in nature based upon the doctrine of negotiorum
10     gestio set forth in Civil Code Articles 2292, et seq. However,
11     this Court's ruling does not mention this settled body of state
12     law establishing Section (A)(3)'s quasi-contractual negotiorum
13     gestio foundation. The bold is in the original. The message is
14     shouted. It's how did you miss this, Your Honor? This isn't
15     just the correct answer. This is settled law. This is obvious.
16     But that statement looks pretty curious when you look at the
17     timeline of this case.
18                 This suit was filed in October of 2016. I know this
19     because I drafted the petition. Chesapeake removed it to this
20     Court shortly thereafter and then filed a motion for summary
21     judgment in February of 2018. Chesapeake then filed a reply
22     memorandum in support of that MSJ in March. Then we all got
23     together on May 8th of 2018, and Mr. Summers from my firm
24     argued for plaintiffs and Mr. Ottinger for Chesapeake. And in
25     this time period many, many arguments were advanced by
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 1     Chesapeake. Most of the arguments on that long list I gave had
 2     already been advanced. And then on March 21st, 2019, this
 3     Court issued its summary judgment ruling.
 4                 Now, you can scour every document filed before that
 5     point and pour over the transcript of the oral argument and
 6     you'll find nary a mention of gestio law. The law that
 7     Chesapeake now says is settled, obvious, how did you miss it,
 8     Judge, Chesapeake did not articulate for two years, six months,
 9     and 22 days. What could explain -- what's that, Your Honor?
10                 THE COURT: That's accurate.
11                 MR. MARTIN: What could explain a delay of this
12     magnitude for an obvious settled point of law?
13                 One answer is Chesapeake just didn't want to put forth
14     this argument. And we'll get to that. An implausible answer, I
15     think, is that Professor Ottinger and his team just didn't think
16     of it.
17                 I've known Professor Ottinger for a very long time.
18     I've worked against his team. And just like opposing counsel
19     today, they are all exceptionally keen people. They are
20     penetrating thinkers in the oil and goes context. I don't think
21     this simply escaped them as a possibility.
22                 So I think the first correct answer of why did this
23     take so long is they didn't think it was a good theory. They
24     didn't think it applied. And there's very good reason for that
25     judgment. There's a management of affairs when someone acts
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 1     without authority, without having been charged to do so and not
 2     pursuant to a legal duty.
 3                 Now, Chesapeake has authority to act in this regard.
 4     It has statutory authority through the unitization statutes and
 5     it has executive authority by way of unit orders. Chesapeake is,
 6     in paying an unleased owner, acting pursuant to a legal duty.
 7     It's not a perfect fit. And there's very good reason to think
 8     that the whole suite of rights and obligations from gestor law
 9     cannot be imported here. It just doesn't make sense because of
10     the differences.
11                 Now, opposing counsel got into quasi-contract, and we
12     have never disputed that what's going on here is
13     quasi-contractual in nature for exactly the reasons she put
14     forward and I think you noted as well. It has to be because
15     there's no contract.
16                 In Civil Code Article 1757, there's only two sources of
17     obligations, contract and quasi-contract. Since we all agree
18     there's no contract, it must be quasi-contract. And no question
19     some courts have said insofar as the operator does this, it's
20     kind of like negotiorum gestio, but that's not reason to think
21     that every piece of gestio law is imported into the unitization
22     statutes.
23                 And that brings me to my second answer of why
24     Chesapeake delayed so long in advancing its obvious settled
25     theory of law. It's that Chesapeake understood that advancing
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 1     gestio would be jumping out of the frying pan and into the fire.
 2     They did not want the whole suite of rights and obligations from
 3     the gestor articles to be imported into the unitization statutes.
 4     They did not want that because that held many negative
 5     consequences that perhaps some of the other theories did not
 6     hold.
 7                 And I may just focus on the first one of these, but a
 8     gestor owes a fiduciary duty to the managed party. So if
 9     Chesapeake, in February of 2018, said we're gestors, then
10     automatically Chesapeake becomes a fiduciary to every unleased
11     owner in a Chesapeake-operated unit in this state and it did not
12     want to take on the additional liability entailed by that duty.
13     As but one example, Chesapeake, in acting as a fiduciary, would
14     have a duty of candor and scrupulous fair dealing with unleased
15     owners.
16                 Now, as we know, Chesapeake intentionally concealed the
17     existence of post-production deductions from unleased owners. It
18     did not provide these deductions on the quarterly statements sent
19     to unleased owners and it only began doing so after this Court
20     issued its ruling in March of 2019. It got caught with its hand
21     in the cookie jar.
22                 Chesapeake knew it couldn't meet a duty of candor, of
23     fair dealing, because it had concealed so much of this.
24     Chesapeake did not want to take on the additional liability in
25     2018 of being on the hook for breach of fiduciary duty and all
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 1     the damages that might entail. So they held it in their back
 2     pocket until you rejected every other theory they advanced and
 3     they had to come up with something new. They made a calculated
 4     --
 5                 THE COURT: Mr. Martin, let me interrupt you.
 6                 MR. MARTIN: Yes, sir.
 7                 THE COURT: One of the requests in the opposition brief
 8     filed on behalf of the plaintiffs contemplated the what if the
 9     Court reconsidered and agreed gestor law applied. Then if I
10     granted leave to amend, what do you think your amendment would
11     look like? Am I beginning to hear one allegation or the other of
12     the failure of Chesapeake to comply with its fiduciary duties to
13     unleased mineral owners?
14                 MR. MARTIN: Yes, Your Honor. That's exactly it.
15                 This is if you adopt their theory, this is what
16     happens, these are the consequences, and those consequences are
17     exactly why Chesapeake did not advance the argument earlier, but
18     when you ruled against all the other arguments, they made the
19     calculated risk of let's advance it now knowing it would look
20     pretty insincere if we've waited two and a half plus years to
21     advance it knowing that it held all of these negative
22     consequences because it thought that it could maybe push those
23     off down the road. They had to jump out of the frying pan. They
24     may land in the fire, but they'll figure out how to get out of
25     the fire later because Chesapeake -- there's many attorneys on
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 1     this hearing that represent operators. None of them want an
 2     operator to be on the hook for a breach of a fiduciary duty to
 3     unleased owners. None of them wants a gestor, an operator, to
 4     have to wait for the directions from every unleased owner in
 5     Louisiana. None of them want the duty to be acting solely on the
 6     behalf of unleased owners in dealing with their share of
 7     production because then they're not a gestor if they act contrary
 8     in any way. This is in contrast to what you see in a lease
 9     context where the lessee, under a lease, only has to act for the
10     mutual benefit of the two parties, the lessor and the lessee. It
11     can balance.
12                 But there's no mutual benefit here. There's no
13     balancing contemplated in gestor, period. And a party is not a
14     gestor, and, thus, would not be entitled to all of the provisions
15     of 2292, et seq., if it failed to act as a gestor. It becomes a
16     messy fact question. Chesapeake did not want, in February of
17     2018, to be liable for mismanagement of the affairs of unleased
18     owners.
19                 Chesapeake, as we all know, is in bankruptcy right now
20     because it mismanaged its own affairs. What chance does it have
21     of escaping mismanagement of unleased owners' affairs whose fates
22     are kind of tied to Chesapeake's ability to make good decisions?
23                 And then finally -- and I think this is a big one -- a
24     gestor owes the managed party a proportionate share of profits
25     obtained by way of management. Chesapeake in 2018 was aware of
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 1     this. They knew this was encompassed by the gestor theory and
 2     didn't want to advance it because they did not want to have to
 3     share all of the profits in a proportionate amount with unleased
 4     owners across Louisiana.
 5                 And to the extent Chesapeake is going to argue against
 6     this, I expect what they're going to say is don't worry about
 7     this right now, Your Honor. Don't even think about it. It's as
 8     we said in the Self matter, don't pay any attention to the man
 9     behind the green curtain. Worry about it later when it's before
10     you when they do amend. But they are asking you to consider all
11     the consequences of ruling a certain way here, so it seems to be
12     on the table.
13                 If you rule the way Chesapeake is asking you to rule,
14     you're going to be tasked with being the philosopher king who has
15     to decide how all of these play out in the unleased owner and
16     operator context. I have no doubt that you could be a very
17     capable philosopher king, but that's not the Court's
18     institutional role. The Court's institutional role is to apply
19     the law.
20                 I end with something that came up in the same amicus
21     brief that I referenced earlier and in the 12(b)(6) motion in the
22     class action, and it's this: Chesapeake in both documents says
23     -- or Chesapeake's counsel says that this Court turned Louisiana
24     law on its head in March of 2019 when it ruled that the law is
25     what it looks like it is. That's a pretty hyperbolic statement
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 1     it seems. So I'll answer it with my own hyperbole, which is
 2     this: Chesapeake's argument turns the very notion of law on its
 3     head. The most basic function of written law is to tell the
 4     citizens subject to that law what their rights and obligations
 5     are.
 6                 Chesapeake's contention right now really is 30:10(A)(3)
 7     does not tell an unleased owner anything, that because there's
 8     not an express exclusion of Article 2297 within Section (A)(3),
 9     it applies, and you should have known this, guys. All you
10     unleased owners out there, you should have been pouring over your
11     Civil Code. Yes. It did take Chesapeake two and a half years to
12     mention it, but you guys should have known it, and that just
13     strikes me as extraordinarily implausible.
14                 And what comes next after all of this is if you adopt
15     the gestor theory and you have to parse through all of this
16     stuff, Chesapeake is going to switch from having this very
17     flexible view of statutory interpretation to being Justice
18     Scalia. Well, the text doesn't say we have to share profits.
19     Yeah. But there's no express exclusion either. And that's the
20     standard Chesapeake's counsel just told you, that all of these
21     rules are applicable unless expressly excluded, and we don't have
22     that here.
23                 And so we can already foresee what happens in the next
24     stage, and that's why I'm saying that if opposing counsel has
25     rebuttal, she'll probably tell you to punt. Don't worry about
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 1     that right now, Your Honor. But if that is the case, if all of
 2     these other rules do apply by default except where expressly
 3     excluded, that's on the table.
 4                 So Chesapeake's argument is that the one statute in
 5     Louisiana that appears to address this question does no such
 6     thing. It's, as I said, an elaborate postmodern prank and the
 7     real law is somewhere else. (A)(3) is a red herring. The real
 8     law is someplace else and Chesapeake will find it for you.
 9     Chesapeake's argument is the law is not what it says it is. It's
10     what Chesapeake says it is.
11                 And in support of this claim, what Chesapeake has
12     offered you is this tangled knot of arguments that, again, you
13     could take many, many hours trying to disentangle and figure out
14     what's actually still being argued, but what I think this Court
15     saw in March of 2019 is what Alexander saw when he came upon the
16     Gordian knot, which is you don't try to untie the knot. You cut
17     the rope before the knot. I believe that's what this Court did
18     in 2019. That's what we're asking this Court to do again today.
19                 Chesapeake has offered a number of arguments, some old,
20     some new. Maybe there's more on the horizon. This Court
21     determined you don't need to take the first step away. You do
22     not need to consider all of these other areas of law if
23     "proceeds" means proceeds.
24                 THE COURT: So turning Louisiana law on its head, is
25     that the effect of adopting the negotiorum gestor theory by
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 1     suddenly holding all well operators to be fiduciaries with
 2     respect to unleased mineral owners?
 3                 MR. MARTIN: That would seem to turn Louisiana law on
 4     its head. And I suspect if we amend it to say you've breached
 5     your fiduciary duty, they will immediately reply there is no
 6     fiduciary duty. They're going to shift in between being strict
 7     textualists to be look at everything, Your Honor. Look at the
 8     wider context. It's just a game to get a result.
 9                 It's like I said earlier. There's no theoretical
10     consistency, but this theoretical consistency is not the point.
11     The point is to get out of the fire right now -- or out of the
12     frying pan, get into the fire, and then figure it out later.
13                 THE COURT: But the net effect by operation of law
14     under the Civil Code for that kind of quasi-contractual
15     relationship converts it from an ordinary type of duty to an
16     extraordinary management duty?
17                 MR. MARTIN: Yes, Your Honor.
18                 And I think that explains why they didn't advance the
19     argument earlier, that they did not want to take on extraordinary
20     duties. They wanted it to be a pretty simple,
21     statutorily-created relationship, but, again, I think they were
22     left with no other choice but to throw all their cards on the
23     table after the summary judgment ruling, which is why they
24     waited.
25                 THE COURT: All right. Anything further?
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 1                 MR. MARTIN: I have nothing further, Your Honor.
 2                 THE COURT: All right. Ms. Duarte.
 3                 MS. DUARTE: I'll be very quick.
 4                 So I offered the Court a very streamlined, very direct
 5     roadmap of Chesapeake's position and how the law requires this
 6     Court to go on a step-by-step basis in making its decision, and
 7     what you were just offered by plaintiffs' counsel was an attack
 8     on Chesapeake, an attack on Chesapeake's lawyers. There were
 9     some conspiracy theories in there on why this argument didn't
10     come in before. There was a bunch of totally irrelevant stuff
11     that's not before the Court at this stage. And what you didn't
12     hear was any attempt to talk about the actual issues, to talk
13     about the rules --
14                 THE COURT: Let me stop you right there.
15                 MS. DUARTE: Okay.
16                 THE COURT: Suppose in footnote 1, if I accept the
17     negotiorum gestor theory and hold that the operator is in fact
18     part of that, then am I dropping a footnote that says under the
19     Civil Code, the duties of an NG become that of a fiduciary,
20     period?
21                 MS. DUARTE: No. I don't think you are, and that's not
22     an issue that's before you right now.
23                 The statute that we have given the Court as providing
24     for the right of reimbursement gives the standard of care for the
25     negotiorum gestor as well. The manager is then taken as a
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 1     prudent administrator. Okay? We'll have to talk about what that
 2     is and what it means, but it doesn't mean you're opening --
 3                 THE COURT: A negotiorum gestor set of duties now is
 4     different in the oil and gas operator context than in the Civil
 5     Code context?
 6                 MS. DUARTE: I'm not saying that. I'm saying I gave
 7     you the article from the Civil Code. The prudent administrator
 8     standard would apply. So I'm saying that it does apply.
 9                 THE COURT: Why doesn't fiduciary duty provided by the
10     Civil Code apply?
11                 MS. DUARTE: I'm sorry. I didn't hear that, Your
12     Honor.
13                 THE COURT: Why does not the fiduciary duty in the
14     Civil Code for a gestor apply?
15                 MS. DUARTE: Because the word "fiduciary" doesn't
16     appear in the Civil Code, Your Honor. The words "prudent
17     administrator" does. The word "fiduciary" comes from Mr. Martin.
18     I haven't read the cases that he cited exactly to be able to
19     distinguish them, but it's not in the Civil Code.
20                 And I will tell you this, another thing. He mentioned
21     Article 2294 saying that the manager must wait for the directions
22     of the owner. Also not true. If you actually look at Article
23     2294, it says the manager is bound, when the circumstances so
24     warrant, to give notice to the owner that he's undertaken the
25     management and to wait for the directions unless there's
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 1     immediate danger.
 2                 Here the unleased mineral owner is getting noticed
 3     every time he gets a check that its interests are being managed,
 4     okay, and the circumstances so warrant. It doesn't say that in
 5     every case we have to wait for their direction. So I totally
 6     disagree with the enumerated items applicable to the duties that
 7     would be ours as a negotiorum gestor, but he's right when he says
 8     that that's not for the Court right now. We are not saying that
 9     the only negotiorum gestor duty that applies is the right of
10     reimbursement. We're not saying that. Okay? In the same
11     statute it talks about prudent administrator. We're with you on
12     that. We're not saying it's different in the oil and gas
13     context, but the point that I think the Court needs to hold them
14     to is they didn't address the legal analysis to get there at all.
15     Okay?
16                 I put up fireworks around "severance taxes."
17     Fireworks. I said roadblock. How do you get around this? How
18     can analytically you say that severance taxes be deducted, but
19     these can't? And there were crickets. The words "severance tax"
20     didn't come up at all in the argument.
21                 Now, I never once meant to attack the Court for not
22     finding negotiorum gestio. It would have been much better if it
23     had been raised earlier. That's not the Court's fault, but the
24     Fifth Circuit isn't going to care whether it was two years or two
25     minutes after this case was instituted that this theory was
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 1     articulated if it's the right theory, if it's the right answer
 2     when you apply the rules of statutory construction correctly in
 3     the order they're supposed to be applied. They did not offer you
 4     anything to refute what we went through painstakingly in our
 5     argument.
 6                 So in that respect, I think we're no further along than
 7     where we were when I stopped the first time. We've offered you
 8     the roadmap. They haven't refuted the roadmap. So I can't even
 9     talk about anything else on that since I've already addressed
10     everything and there's nothing to counter to that.
11                 You're not turning Louisiana law on its head if you
12     adopt negotiorum gestio. You're following the Supreme Court's
13     decision in Wells vs. Zadeck. You're following the First Circuit
14     and the Third Circuit in the Taylor cases. Okay? This is only
15     saying that that doesn't apply simply in a prescription context.
16     That's all you're doing that's new. And Judge Foote's already
17     done that in J&L. So this is not some great new thing. It will
18     be a big difference if what you're saying is negotiorum gestors
19     are the only category of folks in Louisiana law that don't get
20     reimbursement for their management expenses.
21                 Unless the Court has any other questions, I don't have
22     anything else.
23                 THE COURT: I do not. I may set some additional
24     briefing requirements following today and we will notify everyone
25     in due course.
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 1                 I want to thank everybody for being so well-prepared
 2     and for actually finishing this before lunch. I'm stunned. But
 3     it's complex and it's an important question.
 4                 The matter has been moved for reconsideration by the
 5     Court with a whole bunch of additional stuff added to it, and we
 6     will thread through that and see if it's intertwined or separate
 7     from and what to be done with it.
 8                 Great arguments presented by both sides and stay tuned
 9     for that briefing schedule.
10                 MR. MARTIN: Thank you, Your Honor.
11                 MS. DUARTE: Thank you, Your Honor.
12                 THE COURT: Thank you.
13                 Ms. Duarte, may I ask you a quick question?
14                 MS. DUARTE: I'm kind of scared, but, yes, sir.
15                 THE COURT: Is that a radiant steam heater system under
16     the window where you are?
17                 MS. DUARTE: It's actually a virtual background. You
18     don't want to know what's behind me in the room that I'm actually
19     in, Your Honor.
20                 THE COURT: I was curious because, boy, that's a heck
21     of a deal to leave a steam radiant heater. You don't want to see
22     my background either. I just look like I'm in the courtroom.
23     The Grand Jury is occupying it today.
24                 MS. DUARTE: You do.
25                 THE COURT: But we have the visual imagery of that
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 1     which we choose on this Zoom platform.
 2                 Thank you, everyone.
 3                 You look like you're in a real room with books behind
 4     you.
 5                 MR. MARTIN: I was going to say Ms. Duarte has been
 6     knocking her own ability with technology. This is just our
 7     conference room. I don't know how to make a virtual background.
 8     I'm not sure what I'm doing wrong.
 9                 THE COURT: Yeah. You've got to have a 12-year-old or
10     a network engineer. That's all there is to it.
11                 Thank you, again. Bye-bye, everyone.
12                 MR. MARTIN: Thank you, Your Honor.
13                 MS. DUARTE: Thank you. Bye-bye.
14                                        (Proceedings adjourned.)
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 1                             Certificate
 2     I hereby certify this 5th day of August, 2021, that the foregoing
 3     is, to the best of my ability and understanding, a true and
 4     correct transcript from the record of proceedings in the
 5     above-entitled matter.
 6
 7                                        /s/ LaRae E. Bourque

 8                                        Federal Official Court Reporter
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